                   Case 4:19-cv-07123-PJH Document 57 Filed 04/24/20 Page 1 of 1



 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                      )
     WhatsApp Inc, et al.                                                        -PJH
                                                        )   Case No: _______________
 4                                                      )
                                     Plaintiff(s),      )   APPLICATION FOR
 5                                                      )   ADMISSION OF ATTORNEY
              v.
                                                        )   PRO HAC VICE
 6                                                      )   (CIVIL LOCAL RULE 11-3)
                                                        )
 7                                                      )
                                     Defendant(s).
                                                        )
 8
         I,                                       , an active member in good standing of the bar of
 9
                                   , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing:                                              in the
     above-entitled action. My local co-counsel in this case is __________________________________, an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                                  LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      1625 Eye Street, NW
14    Washington, DC 20006
       MY TELEPHONE # OF RECORD:                              LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15
       MY EMAIL ADDRESS OF RECORD:                            LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is:              .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
          I declare under penalty of perjury that the foregoing is true and correct .
21
      Dated:
22                                                                                  APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of                                                   is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.                  TE
                                                                                           S DISTRICT
                                                                                                      C
                                                                                                  TA
                                                                                                                        O
                                                                                             S




                                                                                                                         U




     Dated: April 24, 2020
                                                                                            ED




                                                                                                                          RT




                                                                                                                      ED
                                                                                                              ORDER
                                                                                        UNIT




28                                                                                               IT IS SO
                                                                                                                                R NIA




                                                                                                                    amilton
                                                               UNITED STATES DISTRICT/MAGISTRATE
                                                                                             yllis J. H
                                                                                                        JUDGE
                                                                                        NO




                                                                                     Judge Ph
                                                                                                                                FO
                                                                                         RT




                                                                                                                            LI




                                                                                                 ER
                                                                                            H




                                                                                                                         A




                                                                                                      N                     C
                                                                                                                        F
                                                                                                          D IS T IC T O
                                                                                                                R
     PRO HAC VICE APPLICATION & ORDER                                                                                             October 2012
